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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  KAREN ALBRIGHT, et al.,

         Plaintiffs,
                                                               Case No. 1:22-cv-638
  v.
                                                               HON. JANE M. BECKERING
  ASCENSION MICHIGAN, et al.,

         Defendants.
  ____________________________/


                                             ORDER

        On October 5, 2023, an in-person fairness hearing was held wherein this Court considered

 Plaintiffs’ Motion for Final Approval of Class Action Settlement, Attorneys’ Fees, and Litigation

 Expenses. After hearing arguments from the parties, as well as from Objectors’ counsel, this Court

 finds that the Settlement Agreement is fair, reasonable, and adequate, and that the

 Fed. R. Civ. P. 23 requirements to certify the class are met. Accordingly, the Court GRANTS

 Plaintiffs’ Motion for attorneys’ fees and costs and GRANTS final approval to the settlement.

        IT IS HEREBY ORDERED that Plaintiffs’ Motion for Final Approval of Class Action

 Settlement, Attorneys’ Fees, and Litigation Expenses (ECF No. 117) is GRANTED because the

 Settlement Agreement is fair, reasonable, and adequate.

        IT IS FURTHER ORDERED that the Settlement Class is hereby certified.

        IT IS FURTHER ORDERED that Plaintiffs’ Motion for Attorneys’ Fees and Expenses

 is GRANTED and Class Counsel is hereby awarded one-third of the Settlement Fund, after the

 deduction of costs.



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        IT IS FURTHER ORDERED that Plaintiffs are awarded at least $54,171.27 in litigation

 costs based on the September 19, 2023 Informational Invoice submitted by the Claims

 Administrator, as well as any future invoices submitted by the Claims Administrator for reasonably

 necessary costs regarding the instant Settlement Agreement, as reviewed and approved by

 Plaintiffs’ counsel prior to disbursement.

        IT IS FURTHER ORDERED that appropriate dismissal papers, prepared by counsel for

 entry by Jane M. Beckering, United States District Judge, shall be filed with the Court no later

 than November 13, 2023.




 Dated: October 6, 2023                                       /s/ Jane M. Beckering
                                                             JANE M. BECKERING
                                                             United States District Judge




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